     Case 1:21-cv-11059-GHW Document 113 Filed 05/19/23 Page 1 of 42




                                                 o g·e

Bailiffs Office                                                    D: +44 1481 752340
Royal Court House                                                  E: Margeaux.Newman@ogier.com
St James Street
St Peter Port
Guernsey                                                           Ref: HS/MGMNIR/182801.00002
GY12NZ

Attention: Richard McMahon, The Bailiff
of Guernsey
                                                                   18 May 2023

Dear Sir

U.S. Bank, National Association, in its capacity as Trustee, Joshua N. Terry, and Acis Capital
Management, LP. v The Charitable Donor Advised Fund, L.P., CLO Holdco Ltd., and
NexPoint Diversified Real Estate Trust

Service of foreign judicial documents pursuant to Hague Convention

We have been instructed by Parsons McEntire McCleary PLLC (PMM Law) in the United States of
America to assist them with the service of foreign proceedings in the Bailiwick of Guernsey pursuant
to Article 5 of The Convention of 15 November 1965 in respect of Service Abroad of Judicial and
Extrajudicial Documents in Civil or Commercial Matters (the Hague Convention).

Please find enclosed herewith duplicate hardcopies of the following documents:

1.   Request form in respect of service abroad of judicial or extrajudicial documents pursuant to the
     Hague Convention (Hague Form);

2.   Summons in a Civil Action issued by the United States District Court for the Southern District
     of New York, dated 10 May 2023 (Summons); and

3. Defendants First Amended Answer and Counterclaim filed in the United States District Court
   for the Southern District of New York, dated 3 March 2023 (Counterclaim)

     (together, the Service Documents).

Your offices have been designated as the Central Authority for purposes of Article 2 of the Hague
Convention , and accordingly we request that you kindly arrange for HM Sergeant to effect service
of the Service Documents on the addressee, Highland CLO Funding , Ltd (with company registration
number 60120) (HCLOF) at their registered office address in the Bailiwick of Guernsey located at:

1st Floor
Royal Chambers
St. Julian's Avenue
                                                                                             DATE SERVED
                                                                                              18 . 5 . '2.7::>
Ogler (Guernsey) LLP                                                                         Tl~E. SERVED
Redwood House                                                                                    fb. l~
St Julian's Avenue                        Partners
St Peter Port                             Martyn Baudains                                    SERVED BY
                                          Paul Chanter             Ch ri slopher Jones
Guernsey GY1 1WA                          Tim Clipstone            Marcus Leese

T +44 1481 721672
                                          Simon Davies
                                          Bryan de Vemeull-Smith
                                                                   Sandie Lyne
                                                                   Catherine Moore
                                                                                                 LAP
                                          Gavin Ferguson           Mathew Newman
F +44 1481 721575                         Mallhew Guthrie          Bryon Rees
ogler.com                                 Alex Horsbrugh-Porter    Richard Sharp

                                                                                             106-25900391-1
     Case 1:21-cv-11059-GHW Document 113 Filed 05/19/23 Page 2 of 42



18 May 2023



St. Peter Port
Guernsey
GY1 3JX

We request that once service has been effected, HM Sergeant kindly complete the certificate on
page 2 of the Hague Form (as required by the Hague Convention) and kindly place the completed
certificate and served copies of the Service Documents in the pigeon hole allocated to our offices
in the Royal Court. For the avoidance of doubt, our offices serve as PMM Law's address for service
in Guernsey.

We also request that service on HCLOF is effected on an expedited basis if possible, and that the
invoice for the relevant fees are directed to our offices for payment.

Thank you for your assistance. Should you require any further information from us then please do
not hesitate contact us.

Yours faithfully


  ~tµJJ-"/i i\w)~~
Margeaux Newman
Associate
For and on behalf of
Ogier (Guernsey) LLP




                                               2                                   106-25900391-1
   Case 1:21-cv-11059-GHW Document 113 Filed 05/19/23 Page 3 of 42




                                                                                  How to proceed:

                            REQUEST FOR SERVICE ABROAD
                      OF JUDICIAL OR EXTRAJUDICIAL DOCUMENTS


      Convention on the Service Abroad of Judicial and Extrajudicial Documents in Civil or
           Commercial Matters, signed at The Hague, the 15th of November 1965



      Identity and address of the applicant                      Address of receiving authority
 CLO Holdco , Ltd.                                         The Bailiff
 c / o Sawnie A. McEntire                                  Bailiff's Office
 1700 Pacific Ave, Suite 4400                              Royal Court House
 Dallas, Texas 75201                                       St. James St .
                                                           St. Peter Port, Guernsey GYl 2NZ




The undersigned applicant has the honour to transmit - in duplicate - the documents listed below and, in
conformity with Article 5 of the above-mentioned Convention, requests prompt service of one copy thereof
on the addressee, i.e.
Highland CLO Funding , Ltd.
1st Floor, Royal Chambers
St. Julian's Avenue
St . Peter Port , GuernRey GYl 3JX


[) (a) in accordance with the provisions of sub-paragraph (a) of the first paragraph of Article 5 of the
       Convention .*

[ ) (b)    in accordance with the following particular method (sub-paragraph (b) of the first paragraph of
          Article 5):*

            £l'd5~.....IM fur.cA M.O"\ ~~ -
             P.o. '6o>c b5'.3, ,t"ir P\ecr- , ~ ~ a--e.-V \~
            t;;\- ~u-,\,CA5 ~e.Y1'J-U- r Sr Pew ~ . W-Q..IV\~j q'-1 1 ~ .
[ ] (c)    by delivery to the addressee, If the addressee accepts it voluntarily (second paragraph of
          Article 5).*


The authority is requested to return or to have returned to the applicant a copy of the documents
 - and of the annexes • - with a certificate as provided on the next page.

List of documents
Summons in a Civil Action [Document 103]
First Amended Answer and Counterclaim [Document 77]




                                              Deneal Dallas,TexaEJ USA ,the 17th day of May, 2023

                                              Signature and/or stamp
    Case 1:21-cv-11059-GHW Document 113 Filed 05/19/23 Page 4 of 42




                                                 CERTIFICATE

The undersigned authority has the honour to certify, in conformity with Article 6 of the Convention,


1) • that the document has been served            _________
                                                • Delete (on the printed form) if
                                               ..._
                                                inappropriate .               __,

    - the (date)    \'5\-+\   '¾          .P.ffi..3
    - at (place, street, number)     z;L._::;51' ~""' ~('\.Q (Y\o-\C A ~ , l'6r f'l0c;r ~ (.ro-\~
      "5-rav-h'U"\~           \,ve..i'\     •S      pe.k., Pu-\- . G Y I 3J)( .
    - in one of the following methods authorised by Article 5:

    [ ] (a) in accordance with the provisions of sub-paragraph (a) of the first paragraph of Article 5 of the
        Convention.•

    [ ] (b) in accordance with the following particular method:*




        c     y delivery to the addressee, who accepted it voluntarily.•


The documents referred to in the request have been delivered to :

    - (identity and description of person)

            \::eD,r\     '2cbn~. Ao\lM;V\,~"\ ~                                     ,

    - relationship to the addressee (family, business or other) :


2) • that the document has not been served , by reason of the following facts:




In conformity with the second paragraph of Article 12 of the Convention, the applicant is requested to pay
or reimburse the expenses detailed in the attached statement. •

                                                -- ANNEXES --
Documents returned :




In appropriate cases, documents establishing the service:




                                                      Done at   \~     ~ ~~e •
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                            SUMMARY OF THE DOCUMENT TO BE SERVED

 Convention on the Service Abroad of Judicial and Extrajudicial Documents In Civil or Commercial Matters,
                            signed at The Hague, the 15th of November 1965

                                        (Article 5, fourth paragraph)




           ldentite et adresse du destinatalre I Identity and address of the addressee      I-···=
                               Highl a nd CLO Funding, Ltd.
                               1st Floor, Royal Cha mbers
                               St. Julian's Avenue
                               St. Peter Port, Guernsey GYl 3JX




                                                IMPORTANT

LE DOCUMENT Cl-JOINT EST DE NATURE JURIDIQUE ET PEUT AFFECTER VOS DROITS ET
OBLIGATIONS. LES «ELEMENTS ESSENTIELS DE L'ACTE» VOUS DONNENT QUELQUES
INFORMATIONS SUR SA NATURE ET SON OBJET. IL EST TOUTEFOIS INDISPENSABLE DE LIRE
ATTENTIVEMENT LE TEXTE MEME DU DOCUMENT. IL PEUT ETRE NECESSAIRE DE DEMANDER UN
AVIS JURIDIQUE.

SI VOS RESSOURCES SONT INSUFFISANTES, RENSEIGNEZ-VOUS SUR LA POSSIBILITE D'OBTENIR
L'ASSISTANCE JUDICIAIRE ET LA CONSULTATION JURIDIQUE SOIT DANS VOTRE PAYS SOIT DANS
LE PAYS D'ORIGINE DU DOCUMENT.
LES DEMANDES DE RENSEIGNEMENTS SUR LES POSSIBILITES D'OBTENIR L'ASSISTANCE JUDICIAIRE OU LA
CONSULTATION JURIDIQUE DANS LE PAYS D'ORIGINE PEUVENT ETRE ADRESSEES A :




                                                IMPORTANT

THE ENCLOSED DOCUMENT IS OF A LEGAL NATURE AND MAY AFFECT YOUR RIGHTS AND
OBLIGATIONS. THE 'SUMMARY OF THE DOCUMENT TO BE SERVED' WILL GIVE YOU SOME
INFORMATION ABOUT ITS NATURE AND PURPOSE. YOU SHOULD HOWEVER READ THE
DOCUMENT ITSELF CAREFULLY. IT MAY BE NECESSARY TO SEEK LEGAL ADVICE.

IF YOUR FINANCIAL RESOURCES ARE INSUFFICIENT YOU SHOULD SEEK INFORMATION ON THE
POSSIBILITY OF OBTAINING LEGAL AID OR ADVICE EITHER IN THE COUNTRY WHERE YOU LIVE OR
IN THE COUNTRY WHERE THE DOCUMENT WAS ISSUED.

ENQUIRIES ABOUT THE AVAILABILITY OF LEGAL AID OR ADVICE IN THE COUNTRY WHERE THE DOCUMENT
WAS ISSUED MAY BE DIRECTED TO:
The Guernsey Bar, Alison Antill (Bar Secretary), Somers House, Reu du Pre, St Peter Port, Guernsey GY11LU,
+44 (0) 1481 741 300


II est recommande que les mentions imprimees dans cette note soient redigees en langue fran9aise et en
langue anglaise et le cas ecMant, en outre, dans la langue ou l'une des langues otficielles de l'Etat d'orlgine
de l'acte. Les blancs pourraient ~tre remplls soil dans la langue de l'Etat ou le document doit Atre adresse,
soit en langue fran9aise , soil en langue anglaise.

It is recommended that the standard terms in the notice be written in English and French and where
appropriate a/so in the official language, or one of the official languages of the State in which the document
originated. The blanks could be completed either in the language of the State to which the documents is to
be sent, or in English or French.
   Case 1:21-cv-11059-GHW Document 113 Filed 05/19/23 Page 6 of 42




    Name and address of the requesting authorit~
Sawnie McEntire, Attorney for CLO Holdco, Ltd.
Parsons McEntire McCleary PLLC
1700 Pacific Ave., Suite 4400
Dallas,Texas, U.S . A. 75201, Tel. +l (214) 237-4323, smce

    Particulars of the parties: •
CLO Holdco, Ltd.
c/o Sawnie A. McEntire
1700 Pacific Ave, Suite 4400
Dallas, Texas 75201


                                             JUDICIAL DOCUMENT ••

    Nature and purpose of the document:
Summons and claims for damages and declaratory relief.




    Nature and purpose of the proceeding and, where appropriate, the amount in dispute:
Counter-claims against Counter-Defendants relating to breaches of duties and
aiding and abetting those breaches, seeking damages and declaratory relief.

    Date and place for entering appearance: ••
21 days after service to United States District Court in the Southern District of
New York, before the Honorable Gregory H. Woods, United States Courthouse,
500 Pearl St., New York, NY 10007-1312
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                    Case 1:21-cv-11059-GHW Document 103 Filed 05/10/23 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                             for the
                                                 Southern District of New York


   U.S. BANK, NATIONAL ASSOCIATION, in its                     )
capacity as Trustee, JOSHUA N. TERRY, AND ACIS                 )
           CAPITAL MANAGEMENT, L.P.                            )
                                                               )
                            Plainti.ff(s)                      )
                                                               )
                                 V.                                      Civil Action No. 1 :21-CV-11059 (GHW)
                                                               )
 THE CHARITABLE DONOR ADVISED FUND, L.P.,                      )
CLO HOLDCO LTD. , AND NEXPOINT DIVERSIFIED                     )
            REAL ESTATE TRUST                                  )
                                                               )
                           Defendant(s)                        )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant 's name and address) Counter-Defendant:
                                    Highland CLO Funding, Ltd.
                                    1st Floor, Royal Chambers
                                    St. Julian's Avenue St. Peter Port
                                    Guernsey GY1 3JX



          A lawsuit has been filed against you.

         Within 2 1 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                  Sawnie A. McEntire
                                  Parsons McEntire McCleary PLLC
                                  1700 Pacific Ave, Suite 4400
                                  Dallas, Texas 75201


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT


Date:             05/10/2023                                                                 s/ G. Pisarczyk
                                                                                      Signature of Clerk or Deputy Clerk
                  Case 1:21-cv-11059-GHW Document 113 Filed 05/19/23 Page 8 of 42




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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1:21-CV-11059 (GHW)

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

           This summons for (name ofindividual and title, if any)
was received by me on (date)

           0 I personally served the summons on the individual at (place)
                                                                                 on (date)                           ; or

           0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
          ------------------
           on (date)                               ' and mailed a copy to the individual's last known address; or

           0 I served the summons on (name ofindividual)                                                                      , who is
            designated by law to accept service of process on behalf of (name oforganization)
                                                                                 on (date)                           ; or

           0 I returned the summons unexecuted because                                                                             · or

           0 Other (specify):




           My fees are$                            for travel and $                  for services, for a total of$          0.00


           I declare under penalty of perjury that this information is true.



Date:
                                                                                             Server's signature



                                                                                         Printed name and title




                                                                                             Server 's address


Additional information regarding attempted service, etc:
     Case 1:21-cv-11059-GHW Document 113 Filed 05/19/23 Page 9 of 42




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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

    U.S. BANK, NATIONAL ASSOCIATION,
    in its capacity as Trustee, JOSHUA N.
    TERRY, AND ACIS CAPITAL
    MANAGEMENT, L.P.,

                           Plaintiffs,
          v.                                                  No. 1:21-cv-11059 (GHW)

    THE CHARITABLE DONOR ADVISED
    FUND, L.P., CLO HOLDCO LTD., AND
    NEXPOINT DIVERSIFIED REAL
    ESTATE TRUST,

                           Defendants.

    DEFENDANTS THE CHARITABLE DONOR ADVISED FUND, L.P., AND CLO
      HOLDCO, LTD.'S FffiST AMENDED ANSWER AND COUNTERCLAIM

        Defendants/Counter-Plaintiffs Charitable DAF Fund, LP a/k/a The Charitable

Donor Advised Fund, L.P., ("DAF") and CLO Hold Co, Ltd. ("CLOH") (collectively "DAF

Defendants" or "Counter-Plaintiffs") answer Plaintiffs U.S. Bank, National Association

("U.S. Bank"), Joshua N. Terry ("Terry"), and Ads Capital Management, L.P.'s (" ACM")

(U.S. Bank, Terry, and ACM are collectively "Plaintiffs" or "Plaintiff/Counter-

Defendants") Amended Complaint (the "Complaint") as follows: 1




1 The Complaint contains section titles, other organizational headings, and footnotes to which no response
is required. To the extent such section titles, organizational headings, and footnotes can be construed to
contain allegations of fact to which a response is required, Defendants deny all such allegations unless
expressly stated otherwise herein.


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                              NATURE OF THE ACTION

       1.     No response is necessary to the first sentence of paragraph 1 of the

Complaint because it is not a factual allegation requiring a response. If the Court deems

a response is required, Defendants are without sufficient knowledge to admit or deny

Plaintiffs' reasoning for filing this lawsuit. Defendants deny all remaining allegations in

paragraph 1 of the Complaint.

       2.    Defendants deny the allegations in paragraph 2 of the Complaint.

      3.     Defendants admit that the NexPoint Lawsuit was filed, is related to ACIS

6, and asserts claims against Terry, ACM, and U.S. Bank under the Advisers Act and

Trust Indenture Act. Defendants deny all remaining allegations in paragraph 3 of the

Complaint.

      4.     Defendants admit that CLOH is an investor in HCLOF, that DAF owns

100% of the shares of CLOH, that HCLOF holds subordinated notes issued by the ACIS

CLOH, and that HCLOF and ACM entered into a settlement agreement dated April 28,

2021. Defendants deny all remaining allegations in paragraph 4 of the Complaint.

      5.     Defendants admit they have not released their claims against Plaintiffs and

they, in fact, have Amended their Answer to assert Counterclaims which have not been

released. Defendants deny all remaining allegations in paragraph 5 of the Complaint.

      6.     Defendants deny the allegations in paragraph 6 of the Complaint.

      7.     Defendants deny the allegations in paragraph 7 of the Complaint.



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      8.     No response is necessary to paragraph 8 of the Complaint because it is not

a factual allegation requiring a response. However, Defendants deny that Plaintiffs are

entitled to declaratory relief; Defendants deny Plaintiffs' allegations regarding

Defendants' standing; and Defendants deny all of Plaintiffs' allegations in paragraph 8 of

the Complaint relating to the HCLOF Settlement Agreement.

                                     THE PARTIES

      9.     Defendants deny that the ACIS 4 Indenture is dated June 4, 2014.

Defendants admit the remaining allegations in paragraph 9 of the Complaint.

       10.   Defendants are without sufficient information to admit or deny whether

Shorewood is the general partner of ACM, and whether Terry is a citizen and resident of

Texas. Defendants admit the remaining allegation in paragraph 10 of the Complaint that

Mr. Terry is the President of Shorewood.

       11.   Defendants are without sufficient information to admit or deny whether

Shorewood is the general partner of ACM and whether Terry owns Shorewood and

ACM' s limited partnership interests. Defendants admit that ACM is a Delaware limited

partnership, that ACM is located at 4514 Cole Avenue, Suite 600, Dallas, Texas, 75205,

and that ACM is the "Portfolio Manager" under the ACIS Portfolio Management

Agreements. Defendants deny all remaining allegations in paragraph 11 of the

Complaint.




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       12.   Defendants admit that DA~'s registered office is Intertrust Corporate

Services (Cayman) Limited, 190 Elgin Avenue, George Town, Grand Cayman KYl-9005,

Cayman Islands. Defendants also admit that OAF is a limited partnership organized in

the Cayman Islands and that OAF owns 100% of the shares of CLOH. All remaining

allegations in paragraph 12 of the Complaint are denied.

      13.    Defendants admit the allegations in the first two sentences of paragraph 13

of the Complaint. Defendants further admit that CLOH owns approximately 49% of

HCLOF. Defendants deny all remaining allegations in paragraph 13 of the Complaint.

      14.    Defendants deny that NexPoint Strategic Opportunities Fund's business

address is 2515 McKinney A venue, Suite 1100, Dallas, Texas 75201. Defendants admit the

remaining allegations in paragraph 14 of the Complaint.

      15.    Defendants admit the allegations in paragraph 15 of the Complaint.

      16.    Defendants are without sufficient knowledge to admit or deny the

allegations in paragraph 16 of the Complaint.

      17.    Defendants admit the allegations in paragraph 17 of the Complaint.

      18.    Defendants are without sufficient knowledge to admit or deny the

allegations in paragraph 18 of the Complaint.

      19.    Defendants admit that Dondero is an individual resident of Texas, formerly

owned ACM, and formerly served as CEO of Highland. Defendants deny all remaining

allegations in paragraph 19 of the Complaint.



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                           JURISDICTION AND VENUE

      20.    Defendants admit that the ACIS CLOs are Cayman Island exempted limited

liability companies, that U.S. Bank is the trustee of the ACIS CLOs, and that U.S. Bank

provided financial services to the ACIS CLOs. Defendants deny all remaining allegations

in paragraph 20 of the Complaint.

      21.    Defendants deny the allegations in paragraph 21 of the Complaint.

      22.    The allegations in paragraph 22 of the Complaint are legal conclusions that

do not require a response. To the extent a response is necessary, Defendants deny the

allegations in paragraph 22 of the Complaint.

      23.    Defendants admit the allegations in paragraph 23 of the Complaint.

      24.    The allegations in paragraph 24 of the Complaint are legal conclusions that

do not require a response. To the extent a response is necessary, the allegations in

paragraph 24 of the Complaint are denied.

                              STATEMENT OF FACTS

      25.    Defendants admit the allegations in paragraph 25 of the Complaint.

      26.    Defendants admit the allegations in paragraph 26 of the Complaint.

      27.    Defendants admit that U.S. Bank is the Trustee under each of the ACIS

Indentures. Defendants deny all remaining allegations in paragraph 27 of the Complaint.

      28.    Defendants deny the allegations set forth in the header immediately

preceding paragraph 28 of the Complaint. Defendants admit the last sentence of



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paragraph 28 of the Complaint. Defendants deny all remaining allegations in paragraph

28 of the Complaint.

       29.    Defendants deny the allegations in paragraph 29 of the Complaint.

       30.    Defendants admit the allegations in paragraph 30 of the Complaint.

       31.   Defendants deny the allegations in the first two sentences of paragraph 31

of the Complaint. Defendants admit that Judge Jernigan made certain factual findings in

Docket No. 2660 in the Highland Capital Management, L.P. bankruptcy, and that OAF

holds an approximately 49% stake in HCLOF through CLOH. Defendants are without

sufficient information to admit or deny the allegations in the fourth sentence of paragraph

31 of the Complaint. Defendants admit the allegations in the fifth sentence of paragraph

31 of the Complaint. Defendants deny all remaining allegations in paragraph 31 of the

Complaint as well as the allegations in footnote 1 of the Complaint.

      32.    Defendants admit that DAF filed the 2019 Lawsuit against U.S. Bank

alleging mismanagement of the ACIS CLOs by ACM. Defendants deny all remaining

allegations in paragraph 32 of the Complaint.

      33.    Defendants state that the various letters set forth in footnote 2 of the

Complaint speak for themselves. Defendants otherwise deny the allegations in footnote

2 of the Complaint. Defendants admit the remaining allegations in paragraph 33 of the

Complaint.




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      34.    In response to paragraph 34 of the Complaint, Defendants state that the

communication from the court on January 6, 2020, referenced in paragraph 34 of the

Complaint speaks for itself and no further response is required.

      35.    Defendants admit the allegations in paragraph 35 of the Complaint.

      36.    In response to paragraph 36 of the Complaint, Defendants state that Second

Amended Complaint speaks for itself and no further response is required.

      37.    In response to paragraph 37 of the Complaint, Defendants state that the

2019 Lawsuit speaks for itself. Defendants admit that HCLOF owns the subordinated

notes, that CLOH owns approximately 49% of HCLOF, and that DAF owns 100% of the

shares of CLOH. Defendants deny all remaining allegations in paragraph 37 of the

Complaint.

      38.    In response to paragraph 38 of the Complaint, Defendants state that the

letter identified in paragraph 38 speaks for itself and no further response is required.

Defendants deny the allegations in the first sentence of paragraph 38 of the Complaint.

Defendants admit the remaining allegations in paragraph 38 of the Complaint.

      39.    In response to paragraph 39 of the Complaint, Defendants state that the so-

called 2020 Lawsuit speaks for itself and no further response is required. Defendants

otherwise deny the allegations in the first sentence of paragraph 39 of the Complaint.

Defendants admit that CLOH was a plaintiff in the 2020 Lawsuit, and that the 2020




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Lawsuit alleged claims against Plaintiffs, Moody's, and Brigade. Defendants deny all

remaining allegations in paragraph 39 of the Complaint.

       40.    In response to paragraph 40 of the Complaint, Defendants state that the

2020 Lawsuit speaks for itself and no further response is required.

       41.    Defendants deny the allegations in the first sentence of paragraph 41 of the

Complaint. Defendants admit that that the court dismissed the complaint on February

25, 2020. Defendants deny all remaining allegations in paragraph 41 of the Complaint.

      42.    In response to paragraph 42 of the Complaint, Defendants state that the so-

called May 8 Letter speaks for itself and no further response is required. Defendants

admit the allegations in the first three sentences of footnote 3 of the Complaint.

Defendants deny all remaining allegations in paragraph 42 of Lhe Complaint, including

the remaining allegations in footnote 3.

      43.    In response to paragraph 43 of the Complaint, Defendants state that the

letter referenced in paragraph 43 of the Complaint speaks for itself and no further

response is required. Defendants deny the last sentence in paragraph 43 of the Complaint.

      44.    In response to paragraph 44 of the Complaint, Defendants state that the so-

called NexPoint Lawsuit speaks for itself, and no further response is required.

Defendants specifically deny the allegations in the first sentence of paragraph 44 of the

Complaint.




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      45.    In response to paragraph 45 of the Complaint, Defendants state that the so-

called NexPoint Lawsuit speaks for itself, and no further response is required.

Defendants deny the allegations in the first and last sentences of paragraph 45 of the

Complaint.

      46.    Defendants deny the allegations in paragraph 46 of the Complaint.

      47.    In response to paragraph 47 of the Complaint, Defendants state that

Exhibits J and K speak for themselves, and no further response is required. Defendants

deny all remaining allegations in paragraph 47 of the Complaint.

      48.    Defendants are without sufficient knowledge to admit or deny the

allegations in paragraph 48 of the Complaint.

      49.    In response to paragraph 49 of the Complaint, Defendants state that the so-

called HCLOF Settlement Agreement speaks for itself, and no further response is

required. Defendants deny all remaining allegations in paragraph 49 of the Complaint.

      50.    Defendants deny the allegations in paragraph 50 of the Complaint.

      51.    Defendants deny the allegations set forth in the header immediately

preceding paragraph 51 of the Complaint. Defendants deny the allegations in the third,

fourth, and fifth sentences of paragraph 51 of the Complaint. Defendants are without

sufficient knowledge to admit or deny the allegations in the second sentence of paragraph

51 of the Complaint. Defendants deny all remaining allegations in paragraph 51 of the

Complaint, including the allegations in footnote 5.



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       52.     Defendants deny the allegations in paragraph 52 of the Complaint.

             STATEMENT OF RELATEDNESS TO THE NEXPOINT LAWSUIT

       53.     In response to paragraph 53 of the Complaint, Defendants state that the

allegations in paragraph 53 of the Complaint are conclusory in nature and do not require

a response.

      54.      In response to paragraph 54 of the Complaint, Defendants state that the

allegations in paragraph 54 of the Complaint are conclusory in nature and do not require

a response. Defendants specifically deny that NexPoint, DAF, and CLOH "are effectively

affiliated parties because they are all entities that Dondero functionally controls," that

they lack standing as alleged in paragraph 54 of the Complaint, and that Plaintiffs are

entitled to the declaratory relief referenced in paragraph 54 of lhe Complaint.

      55.      In response to paragraph 55 of the Complaint, Defendants state that the first

two sentences in paragraph 55 of the Complaint are conclusory in nature and do not

require a response. Defendants deny all remaining allegations in paragraph 55 of the

Complaint.




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                                  CAUSES OF ACTION

 COUNT I (AS ALLEGED): DECLARATORY JUDGMENT THAT THE ADVISERS
  ACT, TIA, AND OTHER CLAIMS ARE BARRED FOR LACK OF STANDING
                        (Against All Defendants)

       56.    Because paragraph 56 of the Complaint incorporates paragraphs 1-55 of the

Complaint by reference, Defendants incorporate their individual responses to

paragraphs 1-55 above as if set forth in full herein.

       57.    In response to paragraph 57 of the Complaint, Defendants state that the so-

called 2019 and 2020 Lawsuits speak for themselves, and no further response is required.

Defendants deny all remaining allegations in paragraph 57 of the Complaint.

       58.    Defendants deny the allegations in paragraph 58 of the Complaint.

       59.    In response to paragraph 59 of the Complaint, Defendants state that

NexPoint's claims speak for themselves and no further response is required. Defendants

are without sufficient knowledge to admit or deny the remaining allegations in

paragraph 59 of the Complaint.

       60.    Defendants deny the allegations in paragraph 60 of the Complaint.

       61.    Defendants deny the allegations in paragraph 61 of the Complaint.

       62.    Defendants deny the allegations in paragraph 62 of the Complaint.

       63.    Defendants deny the allegations in paragraph 63 of the Complaint.

       64.    Defendants admit they have not released their claims. Defendants deny all

remaining allegations in paragraph 64 of the Complaint.



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       65.    In response to paragraph 65 of the Complaint, Defendants state that the

allegations in paragraph 65 of the Complaint are conclusory in nature and no further

response is required.

       66.    Defendants deny the allegations in paragraph 66 of the Complaint.

COUNT II (AS ALLEGED): DECLARATORY JUDGMENT THAT ANY CLAIMS BY
 DEFENDANTS RELATED TO THE ACIS CLOS ARE BARRED BY THE HCLOF
                       SETTLEMENT AGREEMENT
                (Against Defendants OAF And CLO HoldCo)

       67.    Because paragraph 67 of the Complaint incorporates paragraphs 1-66 of the

Complaint by reference, Defendants incorporate their individual responses to

paragraphs 1-66 above as if set forth in full herein.

       68.    In response to paragraph 68 of the Complaint, Defendants state that the

HCLOF Settlement Agreement speaks for itself, and no further response is required.

       69.    In response to paragraph 69 of the Complaint, Defendants state that the

HCLOF Settlement Agreement speaks for itself, and no further response is required.

       70.    In response to paragraph 70 of the Complaint, Defendants state that the

HCLOF Settlement Agreement speaks for itself, and no further response is required.

       71.    In response to the allegations in the first sentence of paragraph 71 of the

Complaint, Defendants state that the 2019 and 2020 Lawsuits speak for themselves, and

no further response is required. Defendants also admit that they voluntarily dismissed

the 2019 and 2020 Lawsuits without prejudice, but otherwise deny all remaining

allegations in paragraph 71 of the Complaint.


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      72.     Defendants admit that they have not released their claims. Defendants deny

all remaining allegations in paragraph 72 of the Complaint.

      73.     Defendants deny the allegations in paragraph 73 of the Complaint.

      74.     Defendants deny the allegations in paragraph 74 of the Complaint.

                                  PRAYER FOR RELIEF

       75.    Defendants deny that Plaintiffs are entitled to relief requested in the Prayer

for Relief, including the relief requested under subparagraphs a-c.

                     DEFENSES AND AFFIRMATIVE DEFENSES

       By providing the following non-exhaustive defenses and affirmative defenses to

Plaintiffs' claims, each of which are asserted in the alternative, Defendants do not concede

the merits of any of Plaintiffs' claims and do not undertake any burden to prove any

defense or defenses other than those imposed by law. Defendants reserve the right to

amend this Answer to assert any other defense or matter that discovery in this Action

may reveal.

                            FIRST AFFIRMATIVE DEFENSE

       Plaintiffs' Complaint fails to state a claim upon which relief can be granted.

                          SECOND AFFIRMATIVE DEFENSE

       Plaintiffs' claims are not ripe for adjudication.




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                             THIRD AFFIRMATIVE DEFENSE

       This Court lacks subject matter jurisdiction because there is no genuine case or

controversy between the parties.

                            FOURTH AFFIRMATIVE DEFENSE

       Defendants are not in privity with the Plaintiffs in connection with the HCLOF

Settlement Agreement.

                             FIFTH AFFIRMATIVE DEFENSE

       Plaintiffs have not alleged an injury that is redressable or fairly traceable to

Defendants' alleged conduct.

                             SIXTH AFFIRMATIVE DEFENSE

       Plaintiffs do not have standing to pursue this declaratory judgment because they

are not the real parties in interest.

                           SEVENTH AFFIRMATIVE DEFENSE

       Plaintiffs are not entitled to the declaratory relief requested with respect to the

HCLOF Settlement Agreement because the releases set forth in the HCLOF Settlement

Agreement do not bind Defendants; alternatively, there is a failure of consideration.

                            EIGHTH AFFIRMATIVE DEFENSE

       Plaintiffs' claims for declaratory relief with respect to the HCLOF Settlement

Agreement are barred because the HCLOF Settlement Agreement is the product of

collusion, breaches of fiduciary duty, and/or unclean hands.



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                          NINTH AFFIRMATIVE DEFENSE

      All of Plaintiffs' claims for declaratory relief are barred, in whole or in part,

because there is no actual ripe controversy between the parties.

                          TENTH AFFIRMATIVE DEFENSE

      Plaintiffs' claims for declaratory relief with respect to the HCLOF Settlement

Agreement are barred under the doctrine of unjust enrichment.

                        ELEVENTH AFFIRMATIVE DEFENSE

      Plaintiffs' claims for declaratory relief with respect to the HCLOF Settlement

Agreement should be denied to the extent the HCLOF Settlement Agreement is used as

a basis to argue waiver of rights under the Investment Advisors Act of 1940 which rights

are not waivable.

                        TWELFTH AFFIRMATIVE DEFENSE

      Plaintiffs' claims for declaratory relief with respect to the HCLOF Settlement

Agreement should be denied because the HCLOF Settlement Agreement is not supported

by valid consideration to the extent Plaintiffs seek to enforce the HCLOF Settlement

Agreement.

          THIRTEENTH AFFIRMATIVE DEFENSE AND RESERVATION

      Defendants expressly reserve the right to amend this Answer to assert any

additional rights or defenses they may have, including any counterclaims, pursuant to

the Federal Rules of Civil Procedure and the Court's Case Management Plan.



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                                      COUNTERCLAIM

       Counter-Plaintiffs, Charitable DAF Fund, LP a/k./a The Charitable Donor Advised

 Fund, L.P., ("OAF") and CLO HoldCo, Ltd. ("CLOH"), file this Counterclaim (the

 "Counterclaims")      against     Plaintiff/Counter-Defendants   U.S.   Bank,   National

 Association, in its capacity as trustee ("U.S. Bank" or the "Trustee"), Joshua N. Terry

 ("Terry"), and Acis Capital Management, L.P. (" ACM,"), and Counter-Defendant

 Highland CLO Funding, Ltd. ("HCLOF") (collectively, "Counter-D f ndant "), and for

 causes of action state as follows:

                                 RESERV A ION OF RIGHTS

       1.      By bringing these current Counterclaims, Counter-Plaintiffs do not waive

and expressly reserve their rights to amend Lheir Counterclaims based on resolution of

the proceedings styled CLO Holding Co. v. Highland CLO Funding, Ltd., No 106-25786898-

1, now pending in The Royal Court of Guernsey (Ordinary Division), and related

Application ("Guernsey Application") filed March 6, 2023 (the "Guernsey Proceedings").

A copy of the Guernsey Application is attached as Exhibit 1 (excluding any related

affidavits).

       2.      The Guernsey Proceedings involve, in part, allegations concerning the

willful mismanagement of HCLOF and breaches of HCLOF's duties which continue to

cause unfair prejudice to CLOH as a minority shareholder in HCLOF. In the Guernsey

Proceedings, CLOH seeks, inter alia, its direct interest in the underlying assets of HCLOF



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by dividing, transferring and assigning those assets to CLOH such that CLOH, among

other things, may further protect its interests in legal proceedings against Counter-

Defendants. Counter-Plaintiffs/Defendants therefore reserve their right to amend these

Counterclaims as appropriate as a result of the resolution of the Guernsey Proceedings. 2

       3.      The pendency of the Guernsey Proceedings further demonstrates why the

declaratory relief Plaintiffs/Counter-Defendants now seek is premature. Even assuming

arguendo that Plaintiffs' allegations relating to standing have merit, which is not admitted

or conceded, there is no basis for a decision concerning standing generally until the

Guernsey Proceedings are resolved.

                               NATURE OF COUNTERCLAIM

       4.      Counter-Plaintiffs bring their current Counterclaims which arise from

Counter-Defendants' separate conduct relating to HCLOF' s breaches of fiduciary duty

and Plaintiffs/Counter-Defendants' conduct in aiding and abetting those breaches. This

includes, without limitation: (i) the unauthorized hold back of funds that should have

been distributed to HCLOF; and (ii) aiding and abetting HCLOF's self-dealing regarding

the so-called HCLOF Settlement Agreement at issue in Count II of Plaintiffs' Amended

Complaint.

       5.      HCLOF engaged in significant self-dealing to aid and facilitate the interests




2Accordingly, Defendants/Counter-Plaintiffs equally reserve their rights to amend their Answer in these
proceedings.


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of others, and participated in a willful, knowing effort to prejudice CLOH's rights relating

to the Counter-Defendants. This includes, without limitation, the collusive HCLOF

Settlement Agreement, which was one-sided, inspired by a desire for a broad release

unrelated to the affairs or legitimate business interests of HCLOF, and unjustified

warranties and undertakings whereby HCLOF purportedly agreed to deprive CLOH of

any opportunity to obtain an assignment or other transfer of any of the subordinated

notes issued by Acis CLO 2014-3 Ltd., CLO 2014-4 Ltd., Acis CLO 2014-5 Ltd., and Acis

CLO 2015-6 Ltd (the "A IS CLOs"). This is the epitome of bad faith and self-dealing, and

it was contrary to the best interests of CLOH. Plaintiffs/Counter-Defendants aided and

abetted HCLOF's breaches of fiduciary duty in these and other regards.

                                     THE PARTIES

A.    Counter-Plaintiffs

      6.     Counter-Plaintiff CLOH, a Cayman Islands exempted company, is wholly

owned by DAF. CLOH's registered office is 190 Elgin Avenue, George Town, Grand

Cayman KYl-9005, Cayman Islands.

      7.     Counter-Plaintiff DAF is a limited partnership organized in the Cayman

Islands and administered by Intertrust Corporate Services (Cayman) Limited, 190 Elgin

Avenue, George Town, Grand Cayman KYl-9005, Cayman Islands.

B.    Counter-Defendants

      8.     Counter-Defendant U.S. Bank is a national banking association and serves




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as Trustee for the ACIS CLOs under (i) that certain Indenture (the "ACTS 4 Indenture")

among ACTS 4, ACTS CLO 2014-4 LLC, and U.S. Bank, as Trustee; (ii) that certain Indenture

(the" ACTS 5 Indenture"), dated as of November 18, 2014, among ACTS 5, ACIS CLO 2014-

5 LLC, and U.S. Bank, as Trustee; and (iii) that certain Indenture (the" ACIS 6 Indenture"

and, together with the ACTS 4 Indenture and the ACTS 5 Indenture, the "ACIS

Indentures"), dated as of April 16, 2015, among ACTS 6, ACTS CLO 2015-6 LLC, and U.S.

Bank, as Trustee. US Bank has appeared in this matter.

       9.     Counter-Defendant Terry is an individual who is the general partner of

ACM. Terry has appeared in this matter.

       10.    Counter-Defendant ACM is a Delaware limited partnership. ACM is

located at 4514 Cole Avenue, Suite 600, Dallas, Texas 75205. ACM has appeared in this

matter.

       11.    Counter-Defendant Highland CLO Funding, Ltd. ("HCLOF") is a collective

investment scheme registered in the island nation of Guernsey. HCLOF owns 100% of

the subordinated notes issued by ACTS 4 and ACTS 5 and 87% of the subordinated notes

issued by ACTS 6. HCLOF is a limited company incorporated under the laws of the

Bailiwick of Guernsey with registration 60120 and its registered office at 1st Floor, Royal

Chambers St. Julian A venue St. Peter Port Guernsey GYl 3JX. HCLOF may be served

pursuant to the terms of The Hague Convention on the Service Abroad of Judicial and

Extrajudicial Documents, Art. 1, Nov. 15, 1965 T.I.A.S No. 6638, 20 U.S.T. 361 (U.S. Treaty



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1969). HCLOF has twice intervened in lawsuits related to the above-captioned matter,

including the NextPoint Lawsuit more specifically described in Plaintiff's Amended

Petition [Dkt. 15] at <Jr.II 53-55 ("Statement of Relatedn s to NextPoint Lawsuit").

                                  JURISDICTION AND VENUE

        12.     There are actual, justiciable controversies between the parties related to this

Counterclaim. This Court has subject matter jurisdiction over this Counterclaim. 3

        13.     This Court has personal jurisdiction over all Plaintiffs/Counter-Defendants.

        14.     This Court also has personal jurisdiction over HCLOF because HCLOF has

availed itself of the benefits of doing business in the State of New York, has requisite

minimum contacts with the State of New York and various HCLOF conduct at issue in

this Counterclaim occurred in New York and is related to or otherwise gives rise to the

claims asserted herein. The exercise of personal jurisdiction over HCLOF is consistent

with due process and does not offend traditional notions of fair play and justice.

        15.     Venue is proper in this district under 28 U.S.C. § 1391 because a substantial

part of the events giving rise to this action occurred in this district, and Counter-

Defendants are subject to personal jurisdiction in this district.

                                     STATEMENT OF FACTS

        16.     CLOH holds a 49.015% minority shareholder interest in HCLOF, which, as




3
 Counter-Plaintiffs do not admit that Plaintiff/Counter-Defendants' declaratory relief claims are ripe and
continue to assert that this Court lacks subject jurisdiction over such claims.


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stated, is organized as a limited company under the laws of the Bailiwick of Guernsey.

        17.      Highland Capital Management LP ("HCM") holds or otherwise controls

the majority equity interests in HCLOF.

        18.      The Plaintiffs/Counter-Defendants seek declaratory relief concerning a

Settlement Agreement, dated April 28, 2021 (the "HCLOF Settlement Agr ement"),

between HCLOF and various Counter-Defendants. Plaintiffs/Counter-Defendants seek

to enforce the terms of the HCLOF Settlement Agreement against both Counter-Plaintiffs.

        19.      The HCLOF Settlement Agreement is the product of collusion. On its face,

the    release    language   is   not   mutual,   but   expediently   one-sided   favoring

Plaintiffs/Counter-Defendants. The HCLOF Settlement Agreement explicitly states that

CLOH and DAF are not beneficiaries of any release. Indeed, CLOH and DAF are carved

out of the release by name, and they are not included as released parties. Yet, conversely,

albeit expediently, Plaintiffs/Counter-Defendants seek to bind DAF and CLOH as

releasing parties.

        20.      Perhaps even more telling as to Counter-Defendants' bad faith, the HCLOF

Settlement Agreement includes a false, unjustified statement-which Counter-

Defendants continue to falsely parrot-that Counter-Plaintiffs are "owned or controlled"

by James Dondero. The HCLOF Settlement Agreement also provided that HCLOF will

refuse to sell, transfer or assign any of the subordinated notes issued by the ACIS CLOs

to either DAF or CLOH. By agreeing to this provision, HCLOF engaged in blatant self-



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dealing to the detriment and disadvantage of CLOH, to whom it owed fiduciary duties.

The Plaintiff/Counter-Defendants encouraged, aided and abetted this self-dealing and

conflict of interest. In short, the HCLOF Settlement Agreement was the product of

collusion and is not a genuine arms-length transaction.

           21 .   The release language in the HCLOF Settlement Agreement is legally

unenforceable as to CLOH and DAF for several non-exclusive reasons. First, neither

CLOH nor DAF are specifically identified as releasing parties. Second, the various entities

generically described within the scope of the defined term "HCLOF Releasors" do not

include either CLOH or DAF. Third, neither CLOH nor DAF are in privity with

Plaintiff/Counter-Defendants for purposes of the HCLOF Settlement Agreement, and

they did not sign the HCLOF Settlement Agreement. Fourth, the HCLOF Settlement

Agreement is generally not enforceable to the extent it seeks to waive claims under the

Investment Advisors Act of 1940, 15 U.S.C. § 80b-1 through§ 80b-21. 4 Fifth, the HCLOF

Settlement Agreement is not supported by valid consideration. Sixth, the HCLOF

Settlement Agreement is the product of collusion, breaches of fiduciary duty, and unclean

hands.

          22.     Neither DAF nor CLOH were aware that the HCLOF Settlement Agreement

was being negotiated until after the fact.

          23.     HCLOF, doing the bidding of others, breached its fiduciary duties to


4   As registered investment advisors, ACM and Terry are subject to the Investment Advisors Act of 1940.


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CLOH, as a minority interest holder, in several respects including: (i) failing to disclose

the existence of the HCLOF Settlement Agreement and the fact that it was being

negotiated; (ii) failing to protect CLOH and DAF in the unlikely event this Court

determines that CLOH or DAF are bound as releasing parties while not obtaining mutual

releases; and (iii) if the Court determines that the HCLOF Settlement Agreement is

enforceable, unnecessarily providing Plaintiff/Counter-Defendants with the argument

that their prior professional negligence, misfeasance, and breaches of fiduciary duty at

issue in the Prior Lawsuits, as defined herein, are released and discharged as of the

Effective Date of the HCLOF Settlement Agreement.

       24.    HCLOF, and those entities that control HCLOF, entered the HCLOF

Settlement Agreement in the absence of any legitimate business purpose or legal

justification. HCLOF also provided broad releases contained in the HCLOF Settlement

Agreement without any valid business purpose, and they did so to advance the self-

interests of others to the detriment of CLOH.

       25.    HCLOF breached its duties of loyalty, prudence, care, good faith,

disclosure, and candor to CLOH when negotiating the HCLOF Settlement Agreement,

purportedly releasing claims when no such release was reasonably required or justified,

and by failing to protect CLOH' s interests in doing so.

       26.    The Plaintiff/Counter-Defendants were aware at all material times that they

had no colorable claims against HCLOF that would justify the breadth and scope of the



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HCLOF Settlement Agreement. Rather, because the HCLOF Settlement Agreement was

the result of HCLOF's self-dealing, Plaintiff/Counter-Defendants knowingly colluded

and participated in aiding and abetting this self-dealing and breaches of fiduciary duty.

        27.      If this Court determines that (i) the HCLOF Settlement Agreement is

enforceable as to CLOH, (ii) that HCLOF released and is thereby foreclosed from

pursuing claims against Counter-Defendants that caused HCLOF significant damages,

and (iii) that CLOH does not have standing to sue for the conduct and damages at issue

in the 2019 or 2020 proceedings referenced in Plaintiffs' Amended Complaint (the "Prior

Litigation") 5, then CLOH is severely damaged as a direct result. This is because:

          ■   CLOH will be prevented from benefitting indirectly as a shareholder
              in HCLOF in likely recoveries for claims which HCLOF should never
              have surrendered or released, but did so by breaching its duties to
              CLOH.

          ■   Plaintiff/Counter-Defendants now argue the enforceability of the
              HCLOF Settlement Agreement whereby CLO Holdco cannot obtain by
              purchase, transfer, or assignment the subordinated notes at issue and
              they ostensibly argue that this prevents CLOH' s standing to sue.

        28.      Regardless, by surrendering the claims at issue, HCLOF breached its

fiduciary duties. Plaintiff/Counter-Defendants knew there was no legitimate basis for

these releases and the restrictions on sales of subordinated notes. As such, they are also

directly liable to CLOH for all damages caused by HCLOF' s breaches which they aided



5
  The Charitable Donor Advised Fund, L.P., v. U.S. Bank National Association and Moody's Investor Services and
the Charitable Donor Advised Fund, L.P. and CLO Holdco, Ltd., U.S. Bank National Association, et al; Case 1:20-
CV-01036-LGS.


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and abetted.

      29.      In addition to the foregoing, Plaintiff/Counter-Defendants wrongfully

retained over $41 million in funds for the purpose of this litigation that should have been

distributed to HCLOF. Withholding these funds is not contemplated under the Indenture

Agreements at issue. The amount of the "reserved" funds also was patently

unreasonable, if not outrageous.

       30.     Plaintiff/Counter-Defendants did not and still do not have a good faith basis

to withhold any funds to create a legal slush fund, and HCLOF knew that these funds

were wrongfully retained but failed to take appropriate steps to pursue distribution. As

a result of this failure, HCLOF allowed Plaintiff/Counter-Defendants to misappropriate

significant portions of distributable funds apparently used to pay their attorneys' fees

and expenses in this litigation, and to set up a "slush fund," when they had no colorable

right to do so. All Counter-Defendants acted in collusion and bad faith in this regard.

       31.     CLOH was and remains entitled to 49.015% of the distributable funds at

issue. Thus, the Plaintiff/Counter-Defendants misappropriated funds (a portion of which

were otherwise payable to CLOH) to fund litigation against CLOH, and HCLOF

knowingly allowed this travesty to occur.

       32.     As Portfolio Manager, ACM had no right to withhold or "reserve" any




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funds from HCLOF. US Bank, as Trustee under the Indenture Agreements, 6 had no good

faith basis to reserve or withhold such funds. Notably, nothing in the Indenture

Agreements "shall be construed to relieve the Trustee from liability for its own negligent

action, its own negligent failure to act, or its own willful misconduct." 7

        33.     On February 28, 2023, CLOH was belatedly notified that HCLOF entered

yet another "agreement" ("2023 Agreement") with Plaintiff/Counter-Defendants whereby

$16 million of the originally retained funds would be distributed to HCLOF, but

Plaintiff/Counter-Defendants would be allowed to retain the $25 million balance (the

"WrongfuLiy Withheld Funds"), which is ostensibly for use as a continued war chest to

litigate against CLOH or is intended to be used to gain leverage.

        34.     Plaintiff/Counter-Defendants have no colorable contractual or other right

to reserve or withhold any sums, including the Wrongfully Withheld Funds. HCLOF was

and remains fully aware of this fact; yet HCLOF is allowing Plaintiff/Counter-Defendants

to do so. This new 2023 Agreement is also the product of collusion and was not a genuine,

arms-length transaction.

        35.     HCLOF has breached its fiduciary duties owed to CLOH by agreeing to

allow Plaintiff/Counter-Defendants to continue to withhold the Wrongfully Withheld


6
  This includes, (i) that certain Indenture, dated as of June 4, 2014, among ACIS CLO 2014-4 LTD, ACIS
CLO 2014-4 LLC, and U.S. Bank, as Trustee ("ACIS 4 Indenture"); (ii) that certain Indenture, dated as of
November 18, 2014, among ACIS CLO 2014-5 LTD, ACIS CLO 2014-5 LLC, and U.S. Bank, as Trustee
("ACIS 5 Indenture" ); and (iii) that certain Indenture, dated as of April 16, 2015, among AClS CLO 2015-6
LTD, ACIS CLO 2015-6 LLC, and U.S. Bank, as Trustee(" ACIS 6 Indenture").
7 See, e.g., Acis CLO 2015-6 Indenture, Art. 6.




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Funds. Plaintiff/Counter-Defendants are withholding the Wrongfully Retained Funds

with full knowledge they are doing so without colorable legal or factual support. Similar

to the earlier HCLOF Settlement Agreement, HCLOF never told CLOH that it was

negotiating the 2023 Agreement, and CLOH has still not been provided a copy of this

newest agreement.

         36.   Plaintiff/Counter-Defendants have willfully and knowingly aided and

abetted a breach of fiduciary duty which HCLOF owed to CLOH by withholding these

funds.

         37.   CLOH has been damaged in the amount of approximately $12,250,000,

which represents 49.015% of the Wrongfully Retained Funds.

                                     CAUSES OF ACTION
                   COUNT I: DECLARATORY JUDGMENT THAT
               THE SETTLEMENT AGREEMENT IS UNENFORCEABLE
                                (Against All Counter-Defendants)

         38.   Counter-Plaintiffs incorporate paragraphs 1-37 of the Counterclaims above

as if fully set forth herein.

         39.   The HCLOF Settlement Agreement, dated April 28, 2021, purportedly

contained the "HCLOF Releases" whereby HCLOF purportedly "shall forever waive,

release and discharge, to the fullest extent permitted by law... any and all

claims ... [HCLOF] then has or thereafter may have, of whatsoever nature and




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kind ... existing on or before [April 28, 2021]." 8 However, the scope of the stated language

violates Section 215 of the Investment Advisors Act of 1940, which provides:

           (a) Waiver of compliance as void. Any condition, stipulation, or provision
               binding any person to waive compliance with any provision of this
               subchapter or with any rule, regulation, or order thereunder shall be
               void.

15 U.S.C. § 80b-15. Thus, the Settlement Agreement purportedly binds HCLOF to

"waive" ACM's compliance with the Investment Advisors Act.

           40.     Counter-Plaintiffs request a judicial declaration that the HCLOF Settlement

Agreement violates the Investment Advisors Act and is, therefore, void and

unenforceable.

           41.     Counter-Plaintiffs also request a judicial declaration that the HCLOF

Settlement Agreement was the product of collusion, bad faith, and/or unclean hands and

is therefore generally unenforceable.

      COUNT II: BREACH OF FIDUCIARY DUTY AND AIDING AND ABETTING
      BREACH OF FIDUCIARY DUTY CONCERNING THE HCLOF SETTLEMENT
                                AGREEMENT
                       (Against All Counter-Defendants)

           42.     Counter-Plaintiffs incorporate paragraphs 1-41 of the Counterclaims above

as if fully set forth herein.

          43.      The entirety of Count II of this Counterclaim is pied in the alternative, to

the extent necessary, and if the Court determines that the HCLOF Settlement Agreement


8   Settlement Agreement 'l[ 10.


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is enforceable.

           44.     The HCLOF Settlement Agreement, dated April 28, 2021, purportedly

waived and released "any and all claims" owned by HCLOF against the

Plaintiff/Counter-Defendants. The HCLOF Settlement Agreement was entered into after

the filing of the 2019 Lawsuit 9 and 2020 Lawsuit 10 (collectively the "Prior Lawsuits"),

which asserted various breaches by U.S. Bank and ACM, including breach of duty to

perform basic non-discretionary tasks with due care, breach of duty to avoid conflicts of

interest, negligence, and conversion.

           45.     HCLOF breached its duties to CLOH by entering the HCLOF Settlement

Agreement because it was neither supported by valid consideration nor a legitimate

business purpose. Yet, it is being used as a basis to argue that HCLOF has released and

waived any and all claims related to the Prior Lawsuits, and HCLOF did so without

protecting CLOH.

           46.     By entering the HCLOF Settlement Agreement, HCLOF breached its

fiduciary duties, and ACM and the Plaintiff/Counter-Defendants aided and abetted these

breaches in a collusive scheme to prevent CLOH from protecting its financial interests.

           47.     Plaintiff/Counter-Defendants aided and abetted HCLOF's breach of its

duties of care, loyalty, the duty to avoid conflicts of interest, and to act in good faith.




9   The Charitable Donor Advised Fund, L.P. v. U.S. Bank Nat'/ Ass'n, et al., 1:19-cv-9857-NRB, ECF 1 (S.D.N.Y.).
10   The Charitable Donor Advised Fund, L.P. v. U.S. Bank Nat'/ Ass'n, 1:20-cv-1036-LGS, ECF 1 (S.D.N.Y).


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        48.    Plaintiff/Counter-Defendants knew that HCLOF owed these duties and

that HCLOF was breaching its duties to CLOH.

        49.    By engaging in and aiding and abetting HCLOF's breach of fiduciary duties

and attempting to release the causes of action in the Prior Lawsuits, Counter-Defendants

have caused substantial damages to CLOH, including those damages identified and

sought in the Prior Lawsuits. Therefore, HCLOF and Plaintiffs/Counter-Defendants are

liable for all damages caused by the collusive HCLOF Settlement Agreement, including

any resulting release of claims relating to Plaintiffs/Counter-Defendants' conduct as

described in the Prior Lawsuits.

       50.     CLOH now sues for all damages caused by the foregoing wrongful conduct,

as well as all remedies as set forth in the Prior Lawsuits.

                               COUNT III:
         BREACH OF FIDUCIARY DUTY AND AIDING AND ABETTING
      BREACH OF FIDUCIARY DUTY CONCERNING THE 2023 AGREEMENT
                     (Against All Counter-Defendants)

       51.     Counter-Plaintiffs incorporate paragraphs 1-50 of the Counterclaims above

as if fully set forth herein.

       52.     The 2023 Agreement was entered into without CLOH's knowledge and

purportedly attempts to allow ACM and US Bank to retain approximately $25 million in

distributable funds in the absence of any legitimate purpose or justification.

       53.     HCLOF has acknowledged that U.S. Bank and ACM wrongfully retained




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funds that belong to HCLOF. However, instead of pursuing distribution of these funds,

which is in the best interest of HCLOF and its shareholders, HCLOF has breached its

fiduciary duties, including the duty of care and the duty to avoid conflicts of interest.

       54.     The 2023 Agreement is the product of a collusive scheme between the

Counter-Defendants to harm CLOH and prejudice CLOH' s interests and rights in the

Wrongfully Withheld Funds.

       55.     By entering into the 2023 Agreement, U.S. Bank, ACM, and the rest of the

Plaintiff/Counter-Defendants, aided and abetted HCLOF's breaches of fiduciary duty. As

a result of these breaches, and Counter-Defendants aiding and abetting these breaches,

Counter-Defendants have caused damage to CLOH in an amount not less than $12.5

million for which damages CLOH now sues.

       56.     CLOH also seeks disgorgement of all funds wrongfully used by

Plaintiffs/Counter-Defendant to pay attorneys' fees and expenses in this litigation or

other litigation.

                                 PUNITIVE DAMAGES

       57.     Counter-Plaintiffs incorporate paragraphs 1-56 of the Counterclaims above

as if fully set forth herein.

       58.     Counter-Defendants' breaches, acts of collusion and aiding and abetting

breaches of fiduciary duty were knowing, intentional, malicious and undertaken in bad

faith. In addition to all actual damages, CLOH requests punitive damages be awarded



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against Counter-Defendants to punish Counter-Defendants' knowing, intentional, and

malicious conduct done in bad faith and to deter others from such willful misconduct.

                          DEMAND FOR ATTORNEYS' FEES

       59.    Counter-Plaintiffs hereby make a demand for the attorneys' fees and court

costs it has sustained in bringing these Counterclaims as may be available under contract,

statute, or other law or equity.

                              CONDITIONS PRECEDENT

       60.    Any and all conditions precedent, if any, to recovery herein have been fully

satisfied, have been waived, or Counter-Plaintiffs are estopped by their conduct from

asserting otherwise.

                                     JURY DEMAND

       61.    Defendants hereby demand a trial by jury on all issues so triable.

                                         PRAYER

       WHEREFORE,         PREMISES       CONSIDERED,       Counter-Plaintiffs/Defendants

Charitable DAF Fund, LP a/k/a The Charitable Donor Advised Fund, L.P. and CLO

Hold Co, Ltd. respectfully request that HCLOF be cited to appear and answer herein, and

that Counter-Plaintiff have judgment over and against Counter-Defendants, jointly and

severally, as appropriate, as follows:

       a.     A declaration that HCLOF Settlement Agreement violates Section 80b-15 of
              the Advisors Act and is therefore void and unenforceable;




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      b.     A declaration that the HCLOF Settlement Agreement was the product of
             collusion, breaches of fiduciary duty,and/or unclean hands, and is therefore
             unenforceable;

      c.     Actual damages as set forth herein;

      d.     Disgorgement as set forth herein;

      e.     Punitive damages as set forth herein;

      f.     Attorneys fees and costs as set forth herein;

      g.     Pre-judgment and post-judgment interest as allowed by law.

      h.     Such other and further relief as this Court deems just and proper.

Respectfully submitted this 30th day of March, 2023,

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